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 3
                                     UNITED STATES DISTRICT COURT
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                                           DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,         )
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               Plaintiff,              )
11                                     )                    2:07-cr-0014-JCM-RJJ
   vs                                  )
12                                     )
   RENE OSWALD COBAR,                  )
13                                     )
               Defendant,.             )                           ORDER
14 ____________________________________)
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               Presently before the court is defendant Rene Oswald Cobar’s motion for a new trial and for
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     evidentiary hearing. (Doc. #288). The government responded (doc. #290), and the defendant filed a
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     supplement (doc. #299), but did not reply. Also before the court is defendant Luis Angel Gonzalez-
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     Largo’s motion to compel disclosure of exculpatory evidence. (Doc. #292). The government
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     responded (doc. #294) and filed a supplement (doc. #298), but the defendant did not reply. The court
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     held a hearing on both motions on October 18, 2010, and subsequently took each under advisement
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     at the suggestion of the parties, pending in camera review of the DEA file 5.
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               Following the in camera review by the court on November 3, 2010, the court finding no
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     relationship and no parallels between the case for which the confidential informant was deactivated
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     and the case presently before the court,
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               IT IS HEREBY ORDERED, ADJUDGED AND DECREED that defendant Rene Oswald
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     Cobar’s motion for a new trial and for evidentiary hearing (doc. #288) be, and the same hereby is,
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     denied.
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 1         IT IS FURTHER ORDERED, ADJUDGED AND DECREED that defendant Luis Angel
 2 Gonzalez-Largo’s motion to compel disclosure of exculpatory evidence (doc. #292) be, and the same
 3 hereby is, denied.
 4         DATED this 8th day of November, 2010.
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 6                                                     _______________________________
                                                       UNITED STATES DISTRICT JUDGE
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